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                                             IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                                                    COLORADO
                                                               Judge William J. Martinez


   Criminal Case No. 16-cr-00129-WJM

   UNITED STATES OF AMERICA,
   Plaintiff,

   v.

   1. VINCENT MATHEWS
   Defendant
   _____________________________________________________________

                            MOTION TO EXCLUDE EXPERT TESTIMONY REGARDING GPS
                          COORDINATES OR IN THE ALTERNATIVE FOR A DAUBERT HEARING

      ________________________________________________________________

                                                         Defendant Vincent Mathews, by and through his attorney Mark C.

   Johnson, requests an order from this Court excluding expert testimony regarding

   GPS coordinates attributed to Defendant Mathews or in the alternative for a

   Daubert1 hearing and as grounds further states:

   1.                                                    Defendant Mathews asserts that the Government should not be allowed to

   present expert testimony at the trial of this case regarding GPS coordinates for

   Mr. Mathews location because the Government has failed to make expert

   disclosures as ordered by this Court in the Court’s order of June 17, 2016 at ¶ C.

   Moreover, the Government has not disclosed the GPS expert’s analysis of

   Mathews’ coordinates for March 23, 2106 despite specific requests by the

   Defense. The March 23 date is central to the case because Mathews is accused

   of committing one of the armed robberies on that day.

   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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              Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).


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   2.     Counsel for Defendant Mathews has been aware since his appointment as

   defense counsel that the Government intended to present expert testimony

   regarding the GPS coordinates for Defendant Mathews relating to the two

   charged armed robberies. Moreover, the undersigned has known the identity of

   the Government expert for months and has communicated with the expert both

   by phone and through email. Assistant US Attorney Winstead has been totally

   forthcoming regarding the underlying data that his expert witness would utilize in

   opining as to the location of Defendant Mathews during relevant times in the

   case. Mr. Winstead and the undersigned have met in person to review several

   points of the data and Mr. Winstead has assisted the undersigned in utilizing

   Google Map to track various coordiantes in the discovery. The undersigned has

   the underlying data and theidentify of the expert. What the Defense lacks is the

   analysis done by that expert.

   3.     On September 16, 2016 the undersigned sent an email to GPS expert

   James Buck. ASAU Winstead was cc’ed on that email. The undersigned noted in

   the email that the longitude and latitude coordinates supplied by Mr. Buck to the

   Government appeared to place Mr. Mathews as being both entering, leaving and

   then returning to the inside of the pawnshop during the robbery of that pawnshop

   on March 23, 2016. The undersigned asked Mr. Buck to review the analysis done

   on Google Map by the undersigned and explain what his analysis was of the data.

   The undersigned wrote in part:

          It appears that the Google map positioning puts Mr. Mathews

          being in the street in front of the pawnshop at 11:41 and entering




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          the pawnshop at 11:43. At 11:51 the coordinates show Mathews

          leaving the store at 11:51 and being at the side of the building

          and then in front of the building until 11:54 when the data shows

          him re-entering the pawn shop. He is shown in the pawn shop in

          the area of the entrance door until 12:06 when he is again

          located on the street outside of the pawnshop and then leaves

          the area as of 12:07… I would appreciate it if you could give

          me your analysis of the data and tell me if you agree with the

          accuracy of the Google search.

   Email from Mark C. Johnson, defense counsel, to James Buck, government

   expert witness (September 16, 2016, 2:30 p.m.)

   4.     The coordinates supplied by Mr. Buck appeared to be in conflict with the

   various reports and videotape of the armed robbery that did not show an

   individual entering, leaving and then re-entering during the crime. Mr. Buck

   responded to the email and stated he would provide his analysis of the

   coordinates for the undersigned. The undersigned attached his Google Map

   analysis of the coordinates to the email. [The email to Mr. Buck and the memo

   attached to that email are attached to this motion as Exhibits One and Two]

   5.     Mr. Buck still has not provided any analysis as to this major point. The

   Government is also aware of that fact. The Government has not made any Rule

   16 disclosures and Mr. Buck’s analysis of these coordinates remains undisclosed

   as of today’s date.

                                 DAUBERT HEARING




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   6.     In the event that the Court deems the suppression of Mr. Buck’s testimony

   an inappropriate sanction, the Defense requests a Daubert hearing regarding Mr.

   Buck’s credentials to testify as an expert on GPS data. The Defense is cognizant

   that Mr. Buck has been accepted as an expert in this area by Judge Daniel in the

   case of United States v. Hines, No. 08-CR-00165-WYD, 2009 WL 10635855 (D.

   Colo. Nov. 18, 2009). In Hines, Judge Daniel summarized Mr. Buck’s credentials

   as being related to how law enforcement utilizes GPS data and how GPS data

   could place a particular subject in a specific location. The Court stated:

          As a Senior Product Manager with BI, Inc., Mr. Buck specifically

          works with the ExacuTrack monitoring devices. He oversees the

          relationship between law enforcement and the electronic monitoring

          devices BI, Inc. distributes. Defendants, Mr. Hines and Mr. McGee,

          wore ExacuTrack electronic ankle bracelets provided to the Denver

          Probation Department and Intervention by BI, Inc. The defendants

          were tracked through those agencies using the ExacuTrack cellular

          phone. The monitoring devices place the defendants in the area of the

          banks at the date and time of the robberies they are alleged to have

          committed. Further, Mr. Buck's testimony is relevant to show the

          chronology of the ExacuTrack monitoring devices from their inception at

          Motorola to BI, Inc. then onto various probation offices.


   United States v. Hines, No. 08-CR-00165-WYD, 2009 WL 10635855, at *4 (D.

   Colo. Nov. 18, 2009)




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   7.     The Defense asserts that the questions posed in this case are broader

   than those in Hines. The question under Daubert is whether Mr. Buck can lay a

   foundation for the veracity of the GPS data when the Defense believes that an

   insurmountable conflict may exist between what the GPS data says about Mr.

   Mathews’ movements on March 23, 2016 as compared to the statements of

   witnesses and the videotape within the pawnshop that was robbed.


   8.     As Judge Daniel observed in Hines, Daubert holds that the trial court must

   utilize Rule 104(a) in determining preliminarily “whether the reasoning or

   methodology underlying the testimony is scientifically valid and whether that

   reasoning or methodology properly can be applied to the facts in issue.” [cites

   omitted]. Id. at *2 (D. Colo. Nov. 18, 2009). Thus, the facts of the case set the

   parameters for considering the applicability of the witness’ expertise to the issue.

   In a case where the accuracy and veracity of the GPS system itself are in

   question, the Daubert analysis is different than when the expert is giving an

   overview of the system and testifying as to how the Government comes to assert

   that the defendant was at a particular location.


   9.     The failure of the Government to disclose Mr. Buck’s results regarding his

   analysis of the March 23, 2016 data also makes it difficult for the Defense to

   frame the issue under Daubert.


   WHEREFORE, the Defense seeks an order from the Court to exclude testimony

   for failure to disclose or, in the alternative, for a Daubert hearing as to Mr. Buck’s

   qualifications.



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   DATED September 26, 2016.




   Respectfully Submitted,




   s/ Mark C. Johnson
   ___________________________________
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                             CERTIFICATE OF SERVICE



   I hereby certify that on September 26, 2016 I electronically served the foregoing
   motion electronically by filed the motion with the Clerk of the Court using the
   CM/ECF system, that will send notice of such filing to the parties in the case.




   s/ Mark C. Johnson
   ___________________________________
   Mark C. Johnson

   	  
   	  


   	  
   	  




   	  
   	  
   	  




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